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10                            UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                     No. 2:21-cr-00311-FMO
13               Plaintiff,
                                                   PLEA AGREEMENT FOR DEFENDANT
14                      v.                         RUDOLPH PETERSEN
15   RUDOLPH PETERSEN,
16               Defendant.
17
18
19         1.     This constitutes the plea agreement between RUDOLPH PETERSEN
20   (“defendant”) and the United States Attorney’s Office for the Central District of
21   California (the “USAO”) in the above-captioned case. This agreement is limited to the
22   USAO and cannot bind any other federal, state, local, or foreign prosecuting,
23   enforcement, administrative, or regulatory authorities.
24                              DEFENDANT’S OBLIGATIONS
25         2.     Defendant agrees to:
26                a.    Give up the right to indictment by a grand jury and, at the earliest
27   opportunity requested by the USAO and provided by the Court, appear and plead guilty
28   to a one-count information in the form attached to this agreement as Exhibit 1 or a
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1    substantially similar form, which charges defendant with Bribery Concerning Programs
2    Receiving Federal Funds, in violation of 18 U.S.C. § 666(a)(1)(B).
3                   b.    Not contest facts agreed to in this agreement.
4                   c.    Abide by all agreements regarding sentencing contained in this
5    agreement.
6                   d.    Appear for all court appearances, surrender as ordered for service of
7    sentence, obey all conditions of any bond, and obey any other ongoing court order in this
8    matter.
9                   e.    Not commit any crime; however, offenses that would be excluded for
10   sentencing purposes under United States Sentencing Guidelines (“U.S.S.G.” or
11   “Sentencing Guidelines”) § 4A1.2(c) are not within the scope of this agreement.
12                  f.    Be truthful at all times with the United States Probation and Pretrial
13   Services Office and the Court.
14                  g.    Pay the applicable special assessment at or before the time of
15   sentencing unless defendant has demonstrated a lack of ability to pay such assessments.
16         3.       Defendant further agrees to cooperate fully with the USAO, the Department
17   of Homeland Security, Homeland Security Investigations (“DHS”), and, as directed by
18   the USAO, any other federal, state, local, or foreign prosecuting, enforcement,
19   administrative, or regulatory authority. This cooperation requires defendant to:
20                  a.    Respond truthfully and completely to all questions that may be put to
21   defendant, whether in interviews, before a grand jury, or at any trial or other court
22   proceeding.
23                  b.    Attend all meetings, grand jury sessions, trials or other proceedings at
24   which defendant’s presence is requested by the USAO or compelled by subpoena or
25   court order.
26                  c.    Produce voluntarily all documents, records, or other tangible
27   evidence relating to matters about which the USAO, or its designee, inquires.
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1          4.     For purposes of this agreement: (1) “Cooperation Information” shall mean
2    any statements made, or documents, records, tangible evidence, or other information
3    provided, by defendant pursuant to defendant’s cooperation under this agreement or
4    pursuant to the letter agreement previously entered into by the parties dated March 19,
5    2020 (the “Letter Agreement”); and (2) “Plea Information” shall mean any statements
6    made by defendant, under oath, at the guilty plea hearing and the agreed to factual basis
7    statement in this agreement.
8                                THE USAO’S OBLIGATIONS
9          5.     The USAO agrees to:
10                a.    Not contest facts agreed to in this agreement.
11                b.    Abide by all agreements regarding sentencing contained in this
12   agreement.
13                c.    At the time of sentencing, provided that defendant demonstrates an
14   acceptance of responsibility for the offense up to and including the time of sentencing,
15   recommend a two-level reduction in the applicable Sentencing Guidelines offense level,
16   pursuant to U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an additional
17   one-level reduction if available under that section.
18         6.     The USAO further agrees:
19                a.    Not to offer as evidence in its case-in-chief in the above-captioned
20   case or any other criminal prosecution that may be brought against defendant by the
21   USAO, or in connection with any sentencing proceeding in any criminal case that may
22   be brought against defendant by the USAO, any Cooperation Information. Defendant
23   agrees, however, that the USAO may use both Cooperation Information and Plea
24   Information: (1) to obtain and pursue leads to other evidence, which evidence may be
25   used for any purpose, including any criminal prosecution of defendant; (2) to cross-
26   examine defendant should defendant testify, or to rebut any evidence offered, or
27   argument or representation made, by defendant, defendant’s counsel, or a witness called
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1    by defendant in any trial, sentencing hearing, or other court proceeding; and (3) in any
2    criminal prosecution of defendant for false statement, obstruction of justice, or perjury.
3                  b.    Not to use Cooperation Information against defendant at sentencing
4    for the purpose of determining the applicable guideline range, including the
5    appropriateness of an upward departure, or the sentence to be imposed, and to
6    recommend to the Court that Cooperation Information not be used in determining the
7    applicable guideline range or the sentence to be imposed. Defendant understands,
8    however, that Cooperation Information will be disclosed to the United States Probation
9    and Pretrial Services Office and the Court, and that the Court may use Cooperation
10   Information for the purposes set forth in U.S.S.G § 1B1.8(b) and for determining the
11   sentence to be imposed.
12                 c.    In connection with defendant’s sentencing, to bring to the Court’s
13   attention the nature and extent of defendant’s cooperation.
14                 d.    If the USAO determines, in its exclusive judgment, that defendant
15   has both complied with defendant’s obligations under paragraphs 2 and 3 above and
16   provided substantial assistance to law enforcement in the prosecution or investigation of
17   another (“substantial assistance”), to move the Court pursuant to U.S.S.G. § 5K1.1 to fix
18   an offense level and corresponding guideline range below that otherwise dictated by the
19   sentencing guidelines, and to recommend a term of imprisonment within this reduced
20   range.
21         DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION
22            7.   Defendant understands the following:
23                 a.    Any knowingly false or misleading statement by defendant will
24   subject defendant to prosecution for false statement, obstruction of justice, and perjury
25   and will constitute a breach by defendant of this agreement.
26                 b.    Nothing in this agreement requires the USAO or any other
27   prosecuting, enforcement, administrative, or regulatory authority to accept any
28   cooperation or assistance that defendant may offer, or to use it in any particular way.
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1                 c.    Defendant cannot withdraw defendant’s guilty plea if the USAO does
2    not make a motion pursuant to U.S.S.G. § 5K1.1 for a reduced guideline range or if the
3    USAO makes such a motion and the Court does not grant it or if the Court grants such a
4    USAO motion but elects to sentence above the reduced range.
5                 d.    At this time the USAO makes no agreement or representation as to
6    whether any cooperation that defendant has provided or intends to provide constitutes or
7    will constitute substantial assistance. The decision whether defendant has provided
8    substantial assistance will rest solely within the exclusive judgment of the USAO.
9                 e.    The USAO’s determination whether defendant has provided
10   substantial assistance will not depend in any way on whether the government prevails at
11   any trial or court hearing in which defendant testifies or in which the government
12   otherwise presents information resulting from defendant’s cooperation.
13                                NATURE OF THE OFFENSE
14         8.     Defendant understands that for defendant to be guilty of the crime charged
15   in count one, that is, Bribery Concerning Programs Receiving Federal Funds, in
16   violation of 18 U.S.C. § 666(a)(1)(B), the following must be true: (a) defendant was an
17   agent of a state or local government, or any agency of that government; (b) defendant
18   solicited, demanded, accepted, or agreed to accept anything of value from another
19   person; (c) defendant did so corruptly with the intent to be influenced or rewarded in
20   connection with some business, transaction, or series of transactions of the state or local
21   government, or agency of that government; (d) the business, transaction, or series of
22   transactions involved anything of a value of $5,000 or more; and (e) the state or local
23   government, or agency of that government, in a one-year period, received benefits of
24   more than $10,000 under any federal program involving a grant or other assistance.
25                                         PENALTIES
26         9.     Defendant understands that the statutory maximum sentence that the Court
27   can impose for a violation of 18 U.S.C. § 666(a)(1)(B), is: 10 years’ imprisonment; a 3-
28   year period of supervised release; a fine of $250,000 or twice the gross gain or gross loss
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1    resulting from the offense, whichever is greatest; and a mandatory special assessment of
2    $100.
3            10.   Defendant understands that supervised release is a period of time following
4    imprisonment during which defendant will be subject to various restrictions and
5    requirements. Defendant understands that if defendant violates one or more of the
6    conditions of any supervised release imposed, defendant may be returned to prison for
7    all or part of the term of supervised release authorized by statute for the offense that
8    resulted in the term of supervised release.
9            11.   Defendant understands that, by pleading guilty, defendant may be giving up
10   valuable government benefits and valuable civic rights, such as the right to vote, the
11   right to possess a firearm, the right to hold office, and the right to serve on a jury.
12   Defendant understands that he is pleading guilty to a felony and that it is a federal crime
13   for a convicted felon to possess a firearm or ammunition. Defendant understands that
14   the conviction in this case may also subject defendant to various other collateral
15   consequences, including but not limited to revocation of probation, parole, or supervised
16   release in another case and suspension or revocation of a professional license.
17   Defendant understands that unanticipated collateral consequences will not serve as
18   grounds to withdraw defendant’s guilty plea.
19           12.   Defendant understands that, if defendant is not a United States citizen, the
20   felony conviction in this case may subject defendant to: removal, also known as
21   deportation, which may, under some circumstances, be mandatory; denial of citizenship;
22   and denial of admission to the United States in the future. The Court cannot, and
23   defendant’s attorney also may not be able to, advise defendant fully regarding the
24   immigration consequences of the felony conviction in this case. Defendant understands
25   that unexpected immigration consequences will not serve as grounds to withdraw
26   defendant’s guilty plea.
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1                                         FACTUAL BASIS
2          13.    Defendant admits that defendant is, in fact, guilty of the offense to which
3    defendant is agreeing to plead guilty. Defendant and the USAO agree to the statement of
4    facts provided below and agree that this statement of facts is sufficient to support a plea
5    of guilty to the charge described in this agreement and to establish the Sentencing
6    Guidelines factors set forth in paragraph 15 below but is not meant to be a complete
7    recitation of all facts relevant to the underlying criminal conduct or all facts known to
8    either party that relate to that conduct.
9          From approximately October 2016 to approximately August 5, 2020, defendant
10   served as a police officer with the Montebello Police Department (“MPD”) in Los
11   Angeles County, within the Central District of California. As a police officer, defendant
12   enforced local and state criminal laws. In his capacity as a police officer, defendant had
13   access to a law enforcement database known as “CLETS,” which pulls information from
14   a variety of state and federal government agencies, including the California Department
15   of Justice, California Department of Motor Vehicles, and the Federal Bureau of
16   Investigation.
17         From in or around December 2018 to approximately August 5, 2020, defendant
18   solicited, agreed to accept, and accepted numerous cash bribes from an individual (“Co-
19   Schemer 2”) who sought to influence defendant in the performance of defendant’s
20   official duties as a police officer. During the scheme, defendant knew Co-Schemer 2
21   was a gang member and a narcotics trafficker, and nonetheless accepted at least $14,000
22   in bribes to assist Co-Schemer 2, Co-Schemer 1, and others.
23         Specifically:
24         In or around mid-2018, defendant attended a dinner with Co-Schemer 2. Based on
25   prior meetings, Co-Schemer 2 knew that defendant was a police officer with MPD and
26   believed that defendant had the ability to access records related to federal law
27   enforcement investigations. During the dinner, Co-Schemer 2 stated that he could put
28   defendant “on his payroll” because he would have future work for a police officer. At
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1    the end of the dinner, Co-Schemer 2, through an intermediary, gave defendant $500 and
2    told defendant Co-Schmer 1 wanted to “juice [him] up.”
3          In or around December 2018, Co-Schemer 2 contacted defendant to “discuss some
4    jobs.” At the time, Co-Schemer 2 offered defendant $10,000 to protect and escort a
5    truck containing a shipment of drugs to make sure the vehicle arrived at its intended
6    destination (“Escort Job 1”). Co-Schemer 2 and defendant discussed the specifics of
7    Escort Job 1, including that defendant would act as a “decoy” if law enforcement
8    attempted to intervene or stop the vehicle, or if someone attempted to rob the shipment.
9    Co-Schemer 2 told defendant to wear his police uniform, bring a gun, and to use an
10   unmarked police vehicle to escort the drug shipment. At the time, defendant knew the
11   shipment would contain illegal drugs, which defendant believed would be illegally
12   grown marijuana. Defendant agreed to accept a bribe payment of at least $10,000 from
13   Co-Schemer 2 for defendant’s agreement to protect Co-Schemer 2’s drug shipment from
14   law-enforcement activity and others.
15         At Co-Schemer 2’s direction, defendant and Co-Schemer 2 communicated about
16   Escort Job 1 using one or more encrypted phone applications. In or around March 2019,
17   defendant traveled to Co-Schemer 2’s residence near Rowland Heights, California.
18   Defendant drove his personal vehicle, which he equipped with takedown lights to create
19   the appearance that his personal vehicle was an unmarked police car. Defendant was
20   armed with a firearm at the time, and he wore a security officer uniform that resembled
21   an official police uniform. At Co-Schemer 2’s direction, defendant met a white U-Haul
22   truck at a location in or around Fontana, California, and successfully escorted the truck
23   to a secondary location off the California State Route 60 freeway. Defendant returned
24   to Co-Schemer 2’s residence where Co-Schemer 2 gave defendant a paper bag filled
25   with $10,000.
26         Defendant escorted at least one additional drug shipment for Co-Schemer 2.
27         Shortly after completing Escort Job 1, Co-Schemer 2 and defendant discussed
28   other work. Among other things, Co-Schemer 2 told defendant that Co-Schemer 2 was
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1    involved in the drug industry and needed a police officer to investigate whether law
2    enforcement was investigating Co-Schemer 2 or his business associates. Co-Schemer 2
3    told defendant that law enforcement recently intercepted a cocaine shipment. Co-
4    Schemer 2 suspected that a person involved in the cocaine transaction (“Individual 1”)
5    was a “snitch” and was providing information to law enforcement. In exchange for cash
6    payments, defendant agreed to access sensitive law enforcement databases on Co-
7    Schemer 2’s behalf.
8          Using an encrypted phone application, Co-Schemer 2 sent defendant personal
9    information belonging to Individual 1, including name and date of birth. On or about
10   May 11, 2019, defendant used the CLETS database to search for information related to
11   Individual 1 and subsequently reported the results to Co-Schemer 2. Over the course of
12   the scheme, Co-Schemer 2 provided defendant with names, dates of birth, and other
13   personal information belonging to other people he suspected were cooperating with law
14   enforcement. After receiving the information, defendant would run some of the names
15   through the CLETS database and then report the results to Co-Schemer 2. Co-Schemer 2
16   paid defendant $500-$1000 each time defendant accessed law enforcement databases on
17   Co-Schemer 2’s behalf.
18         On or about September 16, 2020, defendant met with Co-Schemer 1 and Co-
19   Schemer 2 at Co-Schemer 2’s residence in Diamond Bar, California. At the time, Co-
20   Schemer 1 showed defendant a GPS tracking device, which Co-Schemer 1 found
21   attached to his vehicle. Co-Schemer 1 indicated he had found a similar device on a
22   white van that he and Co-Schemer 2 used. Co-Schemer 2 paid defendant $1,000 to
23   investigate whether the tracking devices belonged to a state or federal law enforcement
24   agency.
25         Between 2018 and 2020, including both annually and for each 12-month period
26   relevant to defendant’s conduct herein, defendant’s agency, the MPD, received more
27   than $10,000 under federal programs involving grants and other assistance.
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1                                    SENTENCING FACTORS
2          14.      Defendant understands that in determining defendant’s sentence the Court is
3    required to calculate the applicable Sentencing Guidelines range and to consider that
4    range, possible departures under the Sentencing Guidelines, and the other sentencing
5    factors set forth in 18 U.S.C. § 3553(a). Defendant understands that the Sentencing
6    Guidelines are advisory only, that defendant cannot have any expectation of receiving a
7    sentence within the calculated Sentencing Guidelines range, and that after considering
8    the Sentencing Guidelines and the other § 3553(a) factors, the Court will be free to
9    exercise its discretion to impose any sentence it finds appropriate up to the maximum set
10   by statute for the crime of conviction.
11         15.      Defendant and the USAO agree to the following applicable Sentencing
12   Guidelines factors:
13       Base Offense Level:                         14                U.S.S.G. § 2C1.1(a)(1)
14       More Than One Bribe:                        +2                U.S.S.G. § 2C1.1(b)(1)
15       Bribes More Than $6,500 but not                             U.S.S.G. §§ 2C1.1(b)(2),
         more than $15,000
16                                                   +2                       2B1.1(b)(1)(B)
17       Public Official in Sensitive Position       +4                U.S.S.G. § 2C1.1(b)(3)
18   Defendant and the USAO reserve the right to argue that additional specific offense
19   characteristics, adjustments, and departures under the Sentencing Guidelines are
20   appropriate.
21         16.      Defendant understands that there is no agreement as to defendant’s criminal
22   history or criminal history category.
23         17.      Defendant and the USAO reserve the right to argue for a sentence outside
24   the sentencing range established by the Sentencing Guidelines based on the factors set
25   forth in 18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and (a)(7).
26                         WAIVER OF CONSTITUTIONAL RIGHTS
27         18.      Defendant understands that by pleading guilty, defendant gives up the
28   following rights:
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1                 a.      The right to persist in a plea of not guilty.
2                 b.      The right to a speedy and public trial by jury.
3                 c.      The right to be represented by counsel –- and if necessary have the
4    Court appoint counsel -- at trial. Defendant understands, however, that, defendant
5    retains the right to be represented by counsel –- and if necessary have the Court appoint
6    counsel –- at every other stage of the proceeding.
7                 d.      The right to be presumed innocent and to have the burden of proof
8    placed on the government to prove defendant guilty beyond a reasonable doubt.
9                 e.      The right to confront and cross-examine witnesses against defendant.
10                f.      The right to testify and to present evidence in opposition to the
11   charges, including the right to compel the attendance of witnesses to testify.
12                g.      The right not to be compelled to testify, and, if defendant chose not to
13   testify or present evidence, to have that choice not be used against defendant.
14                h.      Any and all rights to pursue any affirmative defenses, Fourth
15   Amendment or Fifth Amendment claims, and other pretrial motions that have been filed
16   or could be filed.
17                          WAIVER OF APPEAL OF CONVICTION
18         19.    Defendant understands that, with the exception of an appeal based on a
19   claim that defendant’s guilty plea was involuntary, by pleading guilty defendant is
20   waiving and giving up any right to appeal defendant’s conviction on the offense to which
21   defendant is pleading guilty. Defendant understands that this waiver includes, but is not
22   limited to, arguments that the statutes to which defendant is pleading guilty are
23   unconstitutional, and any and all claims that the statement of facts provided herein is
24   insufficient to support defendant’s plea of guilty.
25               LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
26         20.    Defendant agrees that, provided the Court imposes a term of imprisonment
27   within or below the range corresponding to an offense level of 19 and the criminal
28   history category calculated by the Court, defendant gives up the right to appeal all of the
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1    following: (a) the procedures and calculations used to determine and impose any portion
2    of the sentence; (b) the term of imprisonment imposed by the Court; (c) the fine imposed
3    by the Court, provided it is within the statutory maximum; (d) to the extent permitted by
4    law, the constitutionality or legality of defendant’s sentence, provided it is within the
5    statutory maximum; (e) the term of probation or supervised release imposed by the
6    Court, provided it is within the statutory maximum; and (f) any of the following
7    conditions of probation or supervised release imposed by the Court: the conditions set
8    forth in Second Amended General Order 20-04 of this Court; the drug testing conditions
9    mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d).
10         21.    The USAO agrees that, provided all portions of the sentence are at or below
11   the statutory maximum specified above, the USAO gives up its right to appeal any
12   portion of the sentence.
13                     RESULT OF WITHDRAWAL OF GUILTY PLEA
14         22.    Defendant agrees that if, after entering a guilty plea pursuant to this
15   agreement, defendant seeks to withdraw and succeeds in withdrawing defendant’s guilty
16   plea on any basis other than a claim and finding that entry into this plea agreement was
17   involuntary, then (a) the USAO will be relieved of all of its obligations under this
18   agreement, including in particular its obligations regarding the use of Cooperation
19   Information; (b) in any investigation, criminal prosecution, or civil, administrative, or
20   regulatory action, defendant agrees that any Cooperation Information and any evidence
21   derived from any Cooperation Information shall be admissible against defendant, and
22   defendant will not assert, and hereby waives and gives up, any claim under the United
23   States Constitution, any statute, or any federal rule, that any Cooperation Information or
24   any evidence derived from any Cooperation Information should be suppressed or is
25   inadmissible; and (c) should the USAO choose to pursue any charge that was not filed as
26   a result of this agreement, then (i) any applicable statute of limitations will be tolled
27   between the date of defendant’s signing of this agreement and the filing commencing
28   any such action; and (ii) defendant waives and gives up all defenses based on the statute
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1    of limitations, any claim of pre-indictment delay, or any speedy trial claim with respect
2    to any such action, except to the extent that such defenses existed as of the date of
3    defendant’s signing this agreement.
4                   RESULT OF VACATUR, REVERSAL OR SET-ASIDE
5          23.    Defendant agrees that if the count of conviction is vacated, reversed, or set
6    aside, both the USAO and defendant will be released from all their obligations under this
7    agreement.
8                            EFFECTIVE DATE OF AGREEMENT
9          24.    This agreement is effective upon signature and execution of all required
10   certifications by defendant, defendant’s counsel, and an Assistant United States
11   Attorney.
12                                BREACH OF AGREEMENT
13         25.    Defendant agrees that if defendant, at any time after the signature of this
14   agreement and execution of all required certifications by defendant, defendant’s counsel,
15   and an Assistant United States Attorney, knowingly violates or fails to perform any of
16   defendant’s obligations under this agreement (“a breach”), the USAO may declare this
17   agreement breached. For example, if defendant knowingly, in an interview, before a
18   grand jury, or at trial, falsely accuses another person of criminal conduct or falsely
19   minimizes defendant’s own role, or the role of another, in criminal conduct, defendant
20   will have breached this agreement. All of defendant’s obligations are material, a single
21   breach of this agreement is sufficient for the USAO to declare a breach, and defendant
22   shall not be deemed to have cured a breach without the express agreement of the USAO
23   in writing. If the USAO declares this agreement breached, and the Court finds such a
24   breach to have occurred, then:
25                a.     If defendant has previously entered a guilty plea pursuant to this
26   agreement, defendant will not be able to withdraw the guilty plea.
27                b.     The USAO will be relieved of all its obligations under this
28   agreement; in particular, the USAO: (i) will no longer be bound by any agreements
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1    concerning sentencing and will be free to seek any sentence up to the statutory maximum
2    for the crime to which defendant has pleaded guilty; (ii) will no longer be bound by any
3    agreements regarding criminal prosecution, and will be free to criminally prosecute
4    defendant for any crime; and (iii) will no longer be bound by any agreement regarding
5    the use of Cooperation Information and will be free to use any Cooperation Information
6    in any way in any investigation, criminal prosecution, or civil, administrative, or
7    regulatory action.
8                 c.      The USAO will be free to criminally prosecute defendant for false
9    statement, obstruction of justice, and perjury based on any knowingly false or misleading
10   statement by defendant.
11                d.      In any investigation, criminal prosecution, or civil, administrative, or
12   regulatory action: (i) defendant will not assert, and hereby waives and gives up, any
13   claim that any Cooperation Information was obtained in violation of the Fifth
14   Amendment privilege against compelled self-incrimination; and (ii) defendant agrees
15   that any Cooperation Information and any Plea Information, as well as any evidence
16   derived from any Cooperation Information or any Plea Information, shall be admissible
17   against defendant, and defendant will not assert, and hereby waives and gives up, any
18   claim under the United States Constitution, any statute, Rule 410 of the Federal Rules of
19   Evidence, Rule 11(f) of the Federal Rules of Criminal Procedure, or any other federal
20   rule, that any Cooperation Information, any Plea Information, or any evidence derived
21   from any Cooperation Information or any Plea Information should be suppressed or is
22   inadmissible.
23     COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES
24                                    OFFICE NOT PARTIES
25         26.    Defendant understands that the Court and the United States Probation and
26   Pretrial Services Office are not parties to this agreement and need not accept any of the
27   USAO’s sentencing recommendations or the parties’ agreements to facts or sentencing
28   factors.
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1          27.    Defendant understands that both defendant and the USAO are free to:
2    (a) supplement the facts by supplying relevant information to the United States Probation
3    and Pretrial Services Office and the Court, (b) correct any and all factual misstatements
4    relating to the Court’s Sentencing Guidelines calculations and determination of sentence,
5    and (c) argue on appeal and collateral review that the Court’s Sentencing Guidelines
6    calculations and the sentence it chooses to impose are not error, although each party
7    agrees to maintain its view that the calculations in paragraph 15 are consistent with the
8    facts of this case. While this paragraph permits both the USAO and defendant to submit
9    full and complete factual information to the United States Probation and Pretrial Services
10   Office and the Court, even if that factual information may be viewed as inconsistent with
11   the facts agreed to in this agreement, this paragraph does not affect defendant’s and the
12   USAO’s obligations not to contest the facts agreed to in this agreement.
13         28.    Defendant understands that even if the Court ignores any sentencing
14   recommendation, finds facts or reaches conclusions different from those agreed to,
15   and/or imposes any sentence up to the maximum established by statute, defendant
16   cannot, for that reason, withdraw defendant’s guilty plea, and defendant will remain
17   bound to fulfill all defendant’s obligations under this agreement. Defendant understands
18   that no one –- not the prosecutor, defendant’s attorney, or the Court –- can make a
19   binding prediction or promise regarding the sentence defendant will receive, except that
20   it will be between the statutory mandatory minimum and the statutory maximum.
21                             NO ADDITIONAL AGREEMENTS
22         29.    Defendant understands that, except as set forth herein, there are no
23   promises, understandings, or agreements between the USAO and defendant or
24   defendant’s attorney, and that no additional promise, understanding, or agreement may
25   be entered into unless in a writing signed by all parties or on the record in court.
26   //
27   //
28   //
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                                                    June 29, 2021
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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No.

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 666(a)(1)(B): Bribery
                                             Concerning Programs Receiving
13   RUDOLPH PETERSEN,                       Federal Funds]
14             Defendant.

15

16        The Acting United States Attorney charges:
17                           [18 U.S.C. § 666(a)(1)(B)]
18        From in or around December 2018 to on or about August 5, 2020,
19   in Los Angeles County, within the Central District of California,
20   defendant RUDOLPH PETERSEN, a police officer and an agent of the
21   Montebello Police Department, a local government agency that received
22   in any one-year period, including in calendar years 2018, 2019, and
23   2020, benefits in excess of $10,000 under a federal program involving
24   a grant and other assistance, corruptly accepted and agreed to accept
25   something of value from a person, intending to be influenced and
26   rewarded in connection with a business, transaction, and series of
27   transactions of the Montebello Police Department, having a value of
28   $5,000 or more.    Specifically, defendant PETERSEN agreed to accept
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 1   bribe payments of at least $14,000 from a person, intending to be

 2   influenced and rewarded in connection with taking official action to

 3   protect the person’s illegal enterprise from law enforcement

 4   activity.

 5

 6                                              TRACY L. WILKISON
                                                Acting United States Attorney
 7

 8

 9                                              SCOTT M. GARRINGER
                                                Assistant United States Attorney
10                                              Chief, Criminal Division
11                                              SHAWN J. NELSON
                                                Assistant United States Attorney
12                                              Chief, International Narcotics,
                                                Money Laundering and Racketeering
13                                              Section
14                                              BENEDETTO L. BALDING
                                                Assistant United States Attorney
15                                              Deputy Chief, International
                                                Narcotics, Money Laundering and
16                                              Racketeering Section
17                                              IAN V. YANNIELLO
                                                Assistant United States Attorney
18                                              International Narcotics, Money
                                                Laundering and Racketeering
19                                              Section
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